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UNITED STATES DISTRICT COURT JUN 2.4 2024 \Xm

NORTHERN DISTRICT OF ILLINOIS

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

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BHAGAT PRE rep Case Number: / : L3-cU- l62.94
Plaintiff )
Judge: gvrecahl Ne he Pacdd

Magistrate Judge:

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Defendant
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